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 5
     Attorney for:
 6   BANDAR SALEH ALNAGGAR
 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                        Case No. 18-CR-00135 DAD-BAM
11                       Plaintiff,
12           v.                                        STIPULATION AND ORDER TO
                                                       CONTINUE THE STATUS CONFERENCE
13    BANDAR SALEH ALNAGGAR,
14
                         Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE BARBARA
17    A. MCAULIFFE AND GRANT RABENN, ASSISTANT UNITED STATES

18   ATTORNEY:
            COMES NOW Defendant, BANDAR SALEH ALNAGGAR, by and through his
19
     attorney of record, DAVID A. TORRES hereby requesting that the status conference hearing
20
     currently set for Monday, May 11, 2020, to be continued to September 14, 2020.
21
            In light of the restrictions of the General Orders 610-617 regarding the coronavirus
22
     (COVID-19), counsel is requesting that this matter be continued the to the requested date to
23
     permit the defense time to review the discovery in this matter and to consider the proposed plea
24
     provide by the government. I have spoken to co-counsel, Monica Bermudez and AUSA, Grant
25
     Rabenn, and he has no objection to continuing the status conference hearing.
26
            The parties also agree the delays resulting from the continuance shall be excluded in the
27
     interest of justice pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
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                                                      1
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 2   ///
              IT IS SO STIPULATED.
 3                                                             Respectfully Submitted,
 4   DATED: 4/30/20                                            /s/ David A Torres     ___
                                                               DAVID A. TORRES
 5                                                             Attorney for Defendant
 6                                                             BANDAR SALEH ALNAGGAR

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 8
     DATED: 4/30/20                                            /s/Grant B. Rabenn__ ________
 9
                                                               GRANT B. RABENN
10                                                             Assistant U.S. Attorney

11
                                                ORDER
12
              IT IS SO ORDERED that the Status Conference is continued from May 11, 2020 to
13

14   September 14, 2020 at 1:00 PM before Magistrate Judge Barbara A. McAuliffe. Time is

15   excluded pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
16   IT IS SO ORDERED.
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           Dated:   May 1, 2020                            /s/ Barbara A. McAuliffe            _
18                                                   UNITED STATES MAGISTRATE JUDGE
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